
PER CURIAM.
We affirm in all respects but find the evidence which was before the trial court to be too speculative to support the compensatory fine of $330,000 for contempt. Accordingly, we reverse and remand with direction for rehearing solely upon the question of the amount of the compensatory fine. The parties, of course, may engage in further prehearing discovery.
It is not our intent to place appellees in a Catch 22 position by requiring them to meet their burden against recalcitrant parties which, or who, refuse to produce or disclose discoverable information. We feel comfortable that the Florida Rules of Civil Procedure provide adequate sanctions to handle any further problems that may arise in this area.
DOWNEY and GLICKSTEIN, JJ., concur.
LETTS, J., dissents in part.
